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AO 412 (Rev.01/m) AInt Warrznt


                                      UNITED STATESDISTRICT COURT
                                                                  for the
                                                           Districtof Columbia

                 UnitedStatesof America
                             V                                      ) Case:l:234r-21
                   C:hades F. McGonigal                             ! Assigned To: Judge Call6an Kallar4otelly
                                                                    { Assign. Date : 1/18/2022
                                                                    { Description: INDICTMENT (B)
                          Defendant


                                                       ARRESTWARRANT
To:        Any authorizedlawenforcement
                                     ofFicer

           YOU ARE COMMANDED                 to arrest and bring before a United Statesmagistratejudge without unnecessarydelay
(name
    ofprsontobewresled) CharlesF. McGonigd                                                                                             s
who is accused of an offense or violation based on the following document filed with the court:

d Indictment a Superseding Indictment a Information a Superseding Information a Complaint
a     Probation Violation Petition           a SupervisedReleaseViolation Petition      a Violation Notice          a Order of the Court

This ofFense is briefly described as follows:
    18 U.S.C. S 1001(a)(1) (Concealment of Material Facts)

    18 U.S.C. S 1001(a)(2) (False Statements)

    18 U.S.C. S 1519 (Falsification of a Record or Document)
                                                                                                        2023.01.18
                                                                                                        16:51 :27
Date:      01/18/2023                                                                                   -05'OO'
                                                                                        :
City andstate:      Washington,
                             DC                                                      Faruqui, United States MagIstrate Judge
                                                                                            Printed nameand title




                           received on                                 and the person was arrested on (d,t,)        // 2/ 120 73
at (city                         l-Z if rl                              New VHf/ r\1{ tv vAId
           IJa 3 )2o33
                                                                      &771 e fi/W       G. Patti IIB                 $9/r/a /
